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LET THIS BE FILED
Signature Le

February 7, 2023 Date a \o (+32)

NOTICE OF ABSENCE OF SUBJECT MATTER JURISDICTION, NOTICE OF
CONDITION PRECEDENT, ACCEPTANCE OF OATHS OF OFFICE, NOTICE OF
DENIAL OF AUTHORITY OF RESPONDENT ULLER, CUBBAGE, AS LEGAL
REPRESENTATIVE, REBUTTAL OF PRESUMPTIONS OF CONSENT TO DE FACTO
TRIBUNALS PROCESS, NOTICE OF UNANSWERED BILL OF PARTICULARS,
NOTICE OF POTENTIAL LIABILITY, AND AFFIRMATION

NOTICE TO AGENT IS NOTICE TO PRINCIPAL, NOTICE TO PRINCIPAL IS NOTICE
TO AGENT.

SILENCE OR CONTINUED RETENTION OF CLAIMANT’S BIOLOGICAL PROPERTY
AS SURETY WITHOUT VERIFIED EVIDENCE OF HARM, LOSS OR INJURY,
PROOF OF INTENT CONSTITUTES AGREEMENT AND ASSENT TO PROPOSED
TERMS

THIS IS A SELF-EXECUTING CONTRACT
FROM: |

 

James Delisco Beeks, a man, sui juris, by special appearance. In the care of 8815
Conroy-Windermere Road. #296 Orlando, Florida [32835]

Claimant,
TO:

Robin M. Meriweather as the living man and as agent, employee, or contractor of the
corporation UNITED STATES DISTRICT COURT OF DISTRICT OF COLUMBIA
CIRCUIT, Dun & Bradstreet No.611934746

333 Constitution Ave NW [20001]

Beryl A. Howell as the living woman and as agent, employee, or contractor of the
corporation UNITED STATES DISTRICT COURT OF DISTRICT OF COLUMBIA
CIRCUIT, Dun & Bradstreet No.611934746

333 Constitution Ave NW [20001]

Amit P. Mehta as the living man and as agent, employee, or contractor of the
corporation UNITED STATES DISTRICT COURT OF DISTRICT OF COLUMBIA
CIRCUIT, Dun & Bradstreet No.611934746

333 Constitution Ave NW [20001]
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Jimmy S. Park as the living man and as agent, employee, or contractor of the
corporation THE FEDERAL BUREAU OF INVESTIGATIONS [FBI] (Dun & Bradstreet #
878865674) 601 4 Street NW, Washington, DC 20535

Josh Uller ag the living man and as agent, employee, or contractor of the corporation
FEDERAL DEFENDER SEVICES OF WISCONSIN INC. D & B # 031664720, and
UNITED STATES DISTRICT COURT OF DISTRICT OF COLUMBIA CIRCUIT, Dun &
Bradstreet No.611934746, and Federal Defender Services of Wisconsin, Inc. 411 E.

Wisconsin Ave., Milwaukee, Wi 53202, Email address: Joshua Uller
<Joshua_Uller@fd.org>;

Jessica Ettinger as the living woman and as agent, employee, or contractor of the
corporation FEDERAL DEFENDER SEVICES OF WISCONSIN INC. D & B #
031664720, and UNITED STATES DISTRICT COURT OF DISTRICT OF COLUMBIA
CIRCUIT, Dun & Bradstreet No.611934746, and Federal Defender Services of
Wisconsin, Inc. 22 East Mifflin Street, Suite 1000 Madison, WI 53703, Email Address,
Jessica Ettinger <Jessica_Ettinger@fd.org>;

Nicole Cubbage as the living woman and as agent, employee, or contractor of the
corporation UNITED STATES DISTRICT COURT OF DISTRICT OF COLUMBIA
CIRCUIT, Dun & Bradstreet No.611934746 333 Constitution Ave NW [20001], and The
Law Office of Nicole Cubbage 712 H St. NE, Unit# 570Washington, DC 20002, Email
Address: <cubbagelaw@gmail.com>;

Jeffery Nestler as the living man and as agent, employee, or contractor of the
corporation UNITED STATES DEPARTMENT OF JUSTICE, Dun & Bradstreet No.
072526021 and/or THE U.S. ATTORNEY OFFICE, Dun & Bradstreet No. 048158793,
standing in for THE UNITED STATES OF AMERICA Dun & Bradstreet No. 052714196
and corporate Delaware File # 2193946, 601 D Street NW Washington DC [20530],
Email Address: <Jeffrey.Nestler@usdoj.gov>;

Kathryn Rakoczy as the living woman and as agent, employee, or contractor of the
corporation ‘UNITED STATES DEPARTMENT OF JUSTICE, Dun & Bradstreet No.
072526021 and/or THE U.S. ATTORNEY OFFICE, Dun & Bradstreet No. 048158793,
standing in for THE UNITED STATES OF AMERICA Dun & Bradstreet No. 052714196
and corporate Delaware File # 2193946, 601 D Street NW Washington DC [95076-
5139], Email Address: <Kathryn.Rakoczy@usdoj.gov>;

Respondents.

Corporate Ref. Nos. 21-MJ-533, 21-sw-397, 21-sw-296, 1:21-mj-0060, 21-cr-18-19,
& 1-21 -cr-0028 APM
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|. PREAMBLE

A.NOTE ON MEANING OF TERMS USED HEREIN: Notwithstanding any agreement,
course of dealing, or usage of trade to the contrary, Claimant James Delisco Beeks
does not understand, nor is he required to understand or accept any other meaning of
words in the|English language other than those found in common American speech or
in Webster's 1828 dictionary. Unless otherwise specified herein, terms used herein,
including legal fictions which may have particularized meanings and usages within the
corporate de facto “court” system, are being used as claimant understands them,
according to their ordinary and plain meanings and/or as defined by Webster s,
notwithstanding a contrary meaning or usage which may be assigned to such terms by
respondents or their employers.

B. AGREEMENT AND WAIVER OF RIGHTS: If any respondent agrees with all of the
statements contained within this Notice, he or she may agree in one of two ways: (1) By
silence. He or she needs not respond. Respondent's silence will constitute his or her
agreement and acceptance of all of the terms, statements, and provisions hereunder as
his or her complete understanding and agreement with the claimants and respondents
waiver of any and all rights, remedies and defenses of protest, objection, rebuttal,
argument, appeal, and controversy for all time. Respondents agree that his or her
agreement, having been granted knowingly, voluntarily and with full disclosure, settles
all matters finally and forever, and cannot be withdrawn. OR (2) He or she agrees that
by continuing to retain claimant’s biological property as surety without verified evidence
that claimant intended to commit the alleged crime and has caused harm, loss, or injury
as defined herein, said respondent(s) agrees and assents to all of said proposed terms
herein.

C. DISAGREEMENT AND FAILURE TO RESPOND: Respondents may disagree with
any of the terms of this Notice specifically by providing verified evidence that claimant
intended to commit the alleged crime and caused any harm, loss, or injury by disputing
point by point any specific allegation contained herein based on affidavits from a living
human being having firsthand knowledge of the facts he or she avers. Respondents and
Claimant agree that a response which is not verified, or a response from a third party
agent lacking first-hand knowledge of the facts, will constitute that respondent s “failure
to respond”) as defined herein. If a respondent fails to respond by the indicated Effective
Date, the facts, law, and terms stated within this Notice and accompanying Affirmation
will become binding and fully enforceable as a contract which may be incorporated
without further notice into a judgment into a binding judgment of a common law court of
record, or in a de facto “court” or tribunal as claimants may select. If a respondent fails
to respond or state a claim by the indicated Effective Date, the facts and law stated
within this Notice will become binding and fully enforceable in a common law court of
record or in a corporate tribunal as claimant may select.

D. APPLICABLE LAW: Other than as expressly represented herein, you, as
Respondent herein and in your individual capacity, agree that no section of the
proposed Contract contained in this Notice upon agreement, shall be assumed to
constitute a voluntary election by any of the parties thereto to submit the Contract or the
said parties to any venue of law, jurisdiction, court or tribunal, other than as is expressly
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stated in the agreement of the parties hereunder. You agree that the Contract shail not
be deemed to be subject to the “laws”, bylaws, statutes, orders, decrees, or rules of the
federal “government”, any State, political subdivision thereof, or of any corporation, or
any other legal fiction, procedural phantom, political construct, or any other jurisdiction,
real or imagined, unless such election is voluntarily made in writing by the Claimant,
without having been under duress, or by his agent(s) following full disclosure by
respondent of all underlying material facts.

|
E. BINDING JUDGMENT Any respondent failing to respond as defined herein agrees
that a binding judgment incorporating all of the terms of the within Contract may be
entered by any court of record and/or administrative tribunal, at Claimant's election. Any
such judgment is entitled to full faith and credit by any other court or tribunal of
claimant’s choice. Claimant may further select to enforce the Contract or any judgment
arising therefrom through either a common law sheriff, deputy or other law or corporate
code enforcer who has taken an oath, backed by a bond, to support the Constitution.
Any respondent who fails to respond as defined herein agrees to waive any and all
claims he of she may have against the members of any such common law court or
against any of the aforementioned common law sheriffs, deputies or other law or
corporate code enforcers who have taken an oath to support the Constitution, which
claims may hereafter arise in connection with the enforcement of the binding judgment
referred to herein. Respondents agree to hold any such enforcement agents harmless
for any acts performed for the purpose of, or incident to, the enforcement of said
Contract or judgment arising there from.

F, AUTHORITY TO AMEND AND JOINDER FEE: Respondents agree that no person(s)
or corporation shall have any authority to control any decision regarding the Contract.
No such person shall be deemed to possess any powers, interest, or authority to
amend, alter, modify, or terminate the Contract as to any party, person, individual, man,
woman, boy, girl, agency, court or entity, real, fictitious, or imagined, other than as
expressly represented hereunder. No such powers, interest or authority shall be
assumed. The exercise of any and all such powers, interest, and authority, if any, are
expressly prohibited hereunder. You, as respondent, agree that any representation by
any party, person, individual, agency, corporate tribunal, or other entity, real, fictitious,
or imagined, that any such powers, interest or authority exist shall be deemed a
confession by the representing party/entity that such entity seeks to join the contract
pursuant ta the terms herein, for which the joinder fee has been established herein at
Twenty-Five Thousand United States Dollars in lawful currency per each such event. A
dollar is defined herein and by the Coinage Act of 1792 and 1900 as being 24.8 grains
of gold or 371.25 grains of silver.

G. OFFER OF IMMUNITY: Any respondent may avoid all liability and obligations under
this Notice by simply responding no later than by 5 p.m. EST on the Effective Date with
a notarized Affidavit signed by a witness with personal knowledge of the facts contained
in said Affidavit and which proves claimant intended to commit a crime and caused any
harm, loss, or injury to any man, woman, boy or girl or destroyed their property. The
statement must be sworn to be true, contain a notary jurat, and be supported by
certified factual evidence and verified proof constituting a point-by-point rebuttal of this
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Notice, sworn to be true, to which he or she attaches certified factual evidence.
Alternatively, respondent may avoid ail liability and obligations under this Notice by
restoring to claimant, his lawful rights by discharging the case, restoring his second
amendment|rights, and returning his property especially his DNA, acknowledging the
absence of subject matter jurisdiction being presumed per corporate reference numbers
21-MJ-533, 21-sw-397, 21-sw-296, 1:21-mj-0060, 21-cr-18-19, &1-21-cr-0028 APM. In
the event any respondent declines this good faith Offer of Immunity, respondent agrees
with all terms, facts, statements and provisions in this Notice and any obligations
created hereunder.

H. TERMS OF RESPONSE: As with any administrative process, respondent may
rebut the statements and claims in the Notice herein by executing a verified response,
point-by-poiht with evidence that is certified to be true and in affidavit form, correct and
complete, to be received by claimant no later than 5:00 PM on the Effective Date.

|. FAILURE TO RESPOND: The term “failure to respond” means respondent failure by
the Effective Date to respond to this Notice or “insufficiency of response’ as that term is
defined herein. Respondents agree that failure to respond and continued exercise of
absent subject matter jurisdiction both convey his or her agreement with all of the terms
and provisions of the Notice.

J. INSUF FICIENCY OF RESPONSE: The terms “insufficiency of response” and
“insufficient|response” are defined to mean a response which is received by the
Effective Date but which fails to specifically rebut, line by line, any of the established
terms, provisions, statements or claims in the Notice, or offers blanket denials,
unsupported rebuttals, inapposite rebuttals such as “not applicable” or equivalent
statements, declarations of counsel and or other third parties who lack first-hand
material factual knowledge, and/or any rebuttal which lacks verification or an equivalent
level of tisk or fails to exhibit supportive evidence certified to be true, correct and
complete under full commercial liability. Respondents agree that any such response is
deemed to be legally and awfully insufficient to rebut the established statements in the

Notice, thereby conveying respondent's agreement with all of the terms and provisions
of the Notice.

 

 

K. TACIT AGREEMENT: Respondents may admit to all statements and claims in this
Notice by simply remaining silent. The parties herein agree that failure to respond or
insufficiency of response as defined herein constitutes agreement with all terms,
provisions, statements, facts and claims in the Notice. When circumstances impose a
duty to speak and one deliberately remains silent, silence is equivalent to false
representation.

L. EFFECTIVE DATE/RESPONSE: Response must be by 5 PM on the Effective
Date, which is fourteen (14) days from the date of receipt of this Notice. Response

must be by U.S. certified mail, return receipt requested and by restricted delivery
to: |

James Beeks,
[c/o] 8815 Conroy-Windermere Rd. #296 Orlando, Florida [32835]
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|
ll. NOTICE OF ABSENCE OF SUBJECT MATTER JURISDICTION & DENIAL OF
CONSENT |

A. The above named “court”, hereinafter referred to as the “de facto tribunal’, recently
under the administration of respondents Robin M. Meriweather, Beryl A. Howell, and
Amit P. Mehta, is without subject matter jurisdiction to act as a constitutional court
pursuant to the above administrative case numbers because said respondents
Meriweather, Howell, and Mehta, have accepted, claimed, received or retained such
emoluments as the title of attorney at law or esquire and are therefore prohibited by the
original Thirteenth Amendment to the U.S. Constitution, from holding any office of trust.
Said original Thirteenth Amendment to the U.S. Constitution, unanimously ratified by
1824 and in Ohio on January 31, 1811, reads in full as follows:

“If any citizen of the United States shall accept, claim, receive, or retain any title
of nobility or honour, or shall without the consent of Congress, accept and
reserved any present, pension, office, or emolument of any kind whatever, from
any emperor, king, prince, or foreign power, such person shall cease to be a
citizen of the United States, and shall be incapable of holding any office of trust
or profit under them, or either of them."

|
Said original Thirteenth Amendment has never been repealed.

B.Asa corporation, the de facto tribunal has no sovereignty over Claimant and no

greater oe ene a private citizen. It can exercise no power not derived from its
corporate charter, which is kept secret from the people. This has been admitted by other
agents of the corporate tribunal system, such as occurred in The Bank of the United
States v. Planters Bank of Georgia , 6 L. Ed. [9 Wheat] 244 and Clearfield Trust Co. v.
United States, 318 U.S. 363-371 (1943). hilos wan sored comidogiteg20 20s he-Cleanield

tootrine. The de facto tribunal referenced in this Notice is therefore not only not a “court
of record”, it is not a true Constitutional court. It is not even a court at all, all of which
renders its process void ab initio.

C. Even if respondents’ employers were not private, for-profit corporations, which they
are, judicial agents of said employer have long conceded that the corporate “STATE’ is
incapable of providing any immunity for any unconstitutional acts respondent men and
women may commit, and further concedes that such acts of respondents may be
enjoined. Ex Parte Young, 209 U.S. 123 (1908).

D. Once jurisdiction is challenged, it must be proven. Basso v. Utah Power & Light Co.
395 F 2d 906, 910 (10thCir. 1974); Merritt v. Hunter, 170 F2d 739 (10 Cir. Kansas
1948) ("Where a court failed to observe safeguards, it amounts to denial of due process
of law, court is deprived of jurisdiction.") and the burden of proof of jurisdiction lies with
the one asserting that jurisdiction exists. McNutt v. General Motors Acceptance Corp.
298 U.S. 178 (1936).

E. It is a fundamental maxim of common law, as is conceded by virtually all agents of
corporate tribunals, that “Jurisdiction can be challenged at any time".
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F. No injured party has ever appeared to testify against Claimant nor were any facts
proven, or even alleged, to support a claim that Claimant caused any harm, loss or
injury to any man, woman, boy or girl, or has destroyed anyone's property. Without such
proof, there is no evidentiary basis for the de facto tribunal to have issued any orders or
other process at all.

G. Respondents Meriweather, Howell, Mehta, Ulier, Ettinger, Nestler, Rakoczy, and
Cubbage as|members of the BAR have failed to register as foreign agents pursuant to
the Foreign Agent Registration Act; thereby disabling respondents Meriweather, Howell,
and Mehta from issuing orders or otherwise acting as BAR attorneys even according to
corporate statute.

H. Respondents Meriweather, Howell, and Mehta's employers profit from various
federal contracts and also trade on the stock exchange. As agents of said corporation,
respondents are obligated to work solely for the financial interests of their corporate
employer regardless of the Constitutional common law, and natural law rights of the
claimant. Respondents’ allegiance to their corporate employers presents a conflict with
God's law (acknowledged by Congress in P.L. 97-280), a part of which states: “No man
can serve two masters: for either he will hate the one and love the other; or else he will
hold to the one, and despise the other. Ye cannot serve God and mammon’”. Matthew

6:24. Holy Fible KJV

i, Respondents Meriweather, Howell, Mehta, Uller, Ettinger, Nestler, Rakoczy, and
Cubbage are not entitled to serve in positions of public trust due to the original
Thirteenth Amendment, unanimously ratified by the original thirteen states by 1824. Any
acts or purported “orders” announced by any of said respondents are not only ultra vires
but also void ab initio.

J. Respondents Meriweather, Howell, Mehta either swore no oath or failed to swear an
oath according to the language required to be included in such judicial capacity by the
Constitution. Art. VICI. 3 of which says: “all executive and judicial officers, both of the
United States and of the several States, shall be bound by Oath or Affirmation, to
support this Constitution . . .” In the absence of such oaths, any act performed in the
absence of any constitutionally consistent Oath, including a bond, no act or “order”
issued by any of the aforementioned respondents has no lawful or legal effect
WhIROEY EF

K. Claimant hereby accepts any Constitutionally consistent oaths any of the
respondents may have taken to uphold the Constitution, but states that any respondents
who have taken oaths are in violation of said oaths because they do not recognize the
Constitution in their tribunals, a fact said respondents fraudulently concealed from
Claimant. Such respondents are themselves instruments of violation of claimants’
Constitutional and natural rights, in the following particulars:

a. no meaningful notice,

b. no verified claim from an injured living party,

c. no reasonable opportunity to be heard,

d. no right to confront and cross examine Claimant’s accusers, if any,
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e. no opportunity to exercise the common law and/or Constitutionally protected right to
trial by jury of one's peers.
f. failure to produce any evidence whatsoever against Claimant.

L. Claimant is entitled to a “court of record” as part of a republican form of government
conceded in the U.S. Constitution. Black’s Law dictionary (4th Ed.) defines a “court of
record” to be, among other qualities, one which uses the common law, common law
being the only law at the time of the Constitution. Any subsequently enacted federal or
state "code" is incapable of amending the Constitution. Because they do not follow
common law or any Constitution, respondents Meriweather, Howell, and Mehta are
NOT employees of a court of record regardless of whether they keep records or
represent that they are courts of record.

M. Respondents Meriweather, Howell, and Mehta are agents of either the corporation
CITY OF WASHINGTON (Dun & Bradstreet # 073010550) DISTRICT OF COLUMBIA
(Dun & Bradstreet # 949056860) or of one of the corresponding federal parent
corporations, When acting in such representative capacity, they have jurisdictional
authority only over persons and activity taking place within federal or state corporate
territories. Claimant's surety is being held in a location that is not located within any
federal or state corporate territory. Claimant as well as respondents Meriweather,
Howell, and Mehta are all sojourning on the land that is not corporately owned.
Respondents have no territorial jurisdiction over such territories not owned by any
corporation. |

N. Claimant was fraudulently induced to tolerate respondent Josh Uller, a BAR attorney
as a proximate result of being falsely informed that he had little choice to refuse his
appointment to “represent” him. Claimant's initial toleration of Uller as his attorney was
also fostered by his reasonable belief that Uller had taken a meaningful oath to the
Constitution, the duress induced by his terror for his safety, which all respondents, aside
from Cubbage, fostered in him, as well as all respondents , aside from Cubbage,
fraudulent concealment of the fact that having such attorney would create the factually
false presumption that the claimant was incompetent or a ward of the state according to
Black's Law (4th Ed.). Now, claimant has been forced to take on a standby Counsel
Nicole Cubbage to proceed Sui Juris despite claimants’ initial objections.

O. Claimant was denied a common taw right to trial by a jury of his peers, as enshrined
both in the Constitution and at common law, because respondent Mehta, who
surpasses claimant in his knowledge of corporate code fraudulently concealed from
claimant the existence or applicability of those codes.

P. Claimant was never lawfully entrusted to the State despite the State's corporate
fiction that his mother’s and/or father’s signatures on his birth certificate had that effect
and the rebuttals of such fictitious presumptions contained in the birth certificate
documents for the estates of claimant. Claimant's affirmation attached hereto refers to
his rebuttal of all of the presumptions of said birth certificate documents and any notion

that the document(s) created any parens patriae, in loco parentis, or other fictitious
presumptions.
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Q. Caselaw from the corporate system that employs respondents admits that no
sanctions can be imposed by a "court" absent proof of subject matter jurisdiction with
the burden of proof falling on the plaintiff. No such proof was ever adduced.
Respondents Nestler and Rakoczy have yet to produce a plaintiff with first-hand
knowledge who will show up on the witness stand to testify to a verified claim.

R. No due haces, whether in the Constitutional or the higher common law sense of the
similar term, due course of law, was accorded to Claimant in that respondent
Meriweather, Parker, Nestler, and Rakoczy participated in and/or aided and abetted in
conspiracy with claimants employer to kidnap him causing irreparable harm to Claimant
despite no evidence Claimant had harmed anyone or destroyed anyone's property,
despite the absence of intent to commit a crime, and despite the absence of even any
corporate “order” purporting to authorize said harm, without any opportunity for a trial by
a jury of claimant's peers, without any opportunity to cross examine witnesses against
him had any been provided, and without providing Claimant with any reasonable
opportunity to refute any allegations there might have been against him.

S. Respondent Meriweather ratified the participation of respondent Parker_in the
groundless abduction of claimant In November 2021. THE FEDERAL BUREAU OF
INVESTIGATIONS {FBI] (Dun & Bradstreet # 878865674) has no authority to pursue a
man as it is a corporate fiction and has no de jure Congressional Charter. Respondent
Parker is hereby required to produce said charter, if it exists, to prove the authority it
has to stalk, conspire against, entrap, harass, and kidnap claimant.

T. Respondents fraudulently concealed from Claimant the fact that the statutes which
they purport or have purported to apply to him as a man, are not law, but merely
corporate bylaws that do not apply to him, as he is not a legal fiction “person” or U.S.
citizen.

U. Claimant may be punished or otherwise harmed for any presumed "status" (such as
"person") which the corporate "court" assigned to claimant particularly where the term
"person" is some sort of status so unconstitutionally vague as to be incomprehensible.
Robinson v. Califomia 370 U.S. 660 (1962) (State statute which imposes criminal
penalties based on status “inflicts a cruel and unusual punishment in violation of the
Fourteenth Amendment.").

V. The corporations employing had no authority/jurisdiction over Claimant as a man,
even under contract theories, because corporations cannot contract with living men and
woman without full, fair, and honest disclosure. Any deemed “presumptions” or
“consent” by claimant to such corporate jurisdiction could not have ever occurred
without such disclosures.

W. Respondents Meriweather, Howell, and Mehta work for a corporation or corporations
which share financial interests with other respondent-agents of the same or
contractually connected employers, thereby preventing said Meriweather, Howell, and
Mehta fnamaelng able to serve as judges of their own interests legally or lawfully.

ill. NOTICE) OF CONDITION PRECEDENT
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A. Since the 1935 enactment of the corporate bylaw known as the Social Security Act,
and the implementation of state issued Birth Certificates, state corporate entities have
been assuming the unconstitutional supreme authority over all boys and girls through
their corporate mandated Birth Certificates. The legal fiction behind this usurpation of

authority is Known as parens patriae, a corporate created fiction that has since been
enacted into corporate bylaws known as state “statutes” and “code”.

B. When the claimant’s natural mother heeded the coercive, deceptive, and fraudulent
efforts of hospital employees to sign the corporate STATE 's birth certificate, she did so
without full disclosure to her of the corporate State’s presumptions that would attach to
that act, including without limitation the false presumptions that claimant was
abandoned and/or were born out of wedlock. While the corporate STATE may own the
Birth Certificate, which it created, it did not gain ownership of the claimant as a baby,
which it did hot create.

C. This Notice also serves to amend the Certificates of Live Birth created for Claimant,
who were all born on the land and not subject to any presumed maritime or admiralty
jurisdiction. This Notice further rebuts any presumption that Claimant granted the
corporate STATE parental authority under parens patriae or any other corporate
doctrine, over him.

D. Once hospital agents transferred or sold the Certificate of Live Birth to the corporate
state known as STATE OF FLORIDA (Dun & Bradstreet # 004078374), they are then
fraudulently and with no notice to or consent from claimant's mother, created a
presumed estate known as a legal fiction “person” for claimant JAMES DELISCO
BEEKS born JUNE 7, 1972, via their birth registrations and certificates.

E. Parents are not lawfully enabled without their knowledge or consent to indebt,
pledge, conscript, or otherwise enter their sons and daughters into any form of
bondage, debt, peonage, or enslavement. Any and all relinquishments of individual or
parental rights must be voluntary, fully disclosed, and completely enumerated. The real
natures and actual identities of all parties to any custodial, commercial, or grant contract
of any kind whatsoever, such as an agency appointment, must in all details be fully
revealed and disclosed, explicitly discussed, explicitly agreed upon, and voluntarily
entered into by all parties. “Consent” to terms and conditions of a contract that are
undisclosed is meaningless and evidence of fraud. Any contracts failing these
requirements and merely being presumed to exist via tacit agreements, third party
representations, or presumed or compelled benefit are null and void, once rebutted, as
the undersigned man is doing by means of this Notice and Affirmation.

IV. NOTIGE OF ACCEPTANCE OF CONSTITUTIONAL OATHS OF OFFICE

A. All respondents who swore oaths to the Constitution are hereby Noticed that this
notification is not directed to the legal fiction, but to respondents all as

men and women, in their private capacities as non-fiction human beings who have
sworn Oaths of Office, and who, by virtue of those Oaths, if legitimate, have a mandate
to serve the People who are of the Public.
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B. The People's contracts, being the Ancient Charters and Statutes confirming the
liberties of the subjects, the Declaration of Independence, Biblical Law, Magna Carta,
Treaty of Paris 1783, the Maxims of Common Law, the original Constitution for the
united States of America, the Constitution of the United States of America with the Bill of
Rights, the 1803 and subsequent Florida Constitutions, and every additional ordinance
of man that inherently recognizes the supremacy of God and of the pre-eminence of His
Law, together with the Constitutionally mandated Oaths of Office of the above named
respondents, constitute an irrevocable and unconditional acceptance of the offer of
government officers and agents to act, or refrain from acting in a specified way toward
the people, and for other purposes, and is binding upon those who choose to be subject
to it, accordingly as said Constitutionally mandated Oaths of Office have so bound any
and all PUBLIC SERVANT'’s of our lawful government of the People, of which claimant
James Beeks is a member.

C. Be it therefore known by these presents that Claimant does hereby give formal
Notice of Acceptance of any and all Constitutionally mandated Oaths of Office of the
above-named respondents who swore oaths. The said Oaths of Office constitute their
open and binding and irrevocable offers, to which Claimant's acceptance does hereby
ratify into firm binding, private, bilateral contracts between each respondent and
Claimant, by which each respondent agrees to uphold the original constitution for the
‘united States of America, including without limitation the Bill of Rights, and to be
prohibited from infringing upon any of Claimant's unalienable rights.

D. Claimant’s Notice of Acceptance of respondents Oaths of Office is made in good
faith and, to the extent applicable, thereby creates a contract between respondents and
Claimant, now irrevocably consummated, and in reliance on respondents’ knowledge of
corporate bylaws, their power to stop a wrong, where such a wrong results in, or causes
any deprivations to claimant’s common law rights, which include Claimant's first and
second amendment rights, Claimant's religious freedoms, Claimant’s state and federal
Constitutionally protected rights, Claimant's natural rights and liberties, and right to
travel freely. The deprivation of which in whole or part, shall be deemed a breach of
contract, a Violation of substantive due process, a breach of public trust, and a breach of
fiduciary duty, for which respondents, or any of them, may be held liable, without further
notice.

E. NOTICE OF DENIAL OF CONSENT TO ACT ON HIS BEHALF

|
The attorney-client relationship is conditionally consensual. Claimant hereby gives
Notice that respondent Cubbage has no authority to act on Claimant's behalf written or
verbal to presume Claimant to be a child, a ward of the state, or incompetent, as he is
fully capable of managing his own legal and lawful affairs. Respondents Uller and
Ettinger have never been his agents, and claimant hereby disavows any
representations, concessions, or commitments each may have made on his behalf
during the time they purported to “represent” him.

F. REBUTTAL OF PRESUMPTIONS OF CONSENT TO DE FACTO TRIBUNAL’S
PROCESS
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(1) Claimant reserves his natural common law right not to be compelled to perform
under any contract that claimant did not enter into knowingly, voluntarily, and
intentionally, following full disclosure of relevant facts. And furthermore, Claimant does
not accept the liability associated with the compelled and pretended "benefit"* of any
hidden or unrevealed contract or commercial agreement. No such presumed contracts
are applicable to Claimant as he is not a legal fiction “person” or U.S. citizen. Any
presumed participation in any of the supposed "benefits" associated with these hidden
“contracts” was induced by duress, threats of violence, and the absence of any practical
alternative. Any such participation does not constitute "acceptance" in contract law,
because of the absence of full disclosure of any valid "offer," and voluntary consent
without misrepresentation or coercion. Without a valid voluntary offer and acceptance,
knowingly entered into by both parties, there is no "meeting of the minds," and therefore
no valid contract. Any supposed "contract" is therefore void ab initio.

(2) Claimant reserves his right to choose when to allow any legal fiction entity within his
contro! to be in contract with a corporation. Merrion v. Jicarilla Apache Tribe, 455 U.S.
130, 144-148 (1982)(“to presume that a sovereign forever waives the right to exercise
one of its powers unless it expressly reserves the right to exercise that power ina
commercial agreement turns the concept of sovereignty on its head.”)

(3) This Notice further informs each respondent that any and all information contained
within any of your files pertaining to Claimant is particularly unique, and uniquely
belongs to Claimant. All information associated with Claimant including but not limited to
his name(s), accounts, addresses, phone numbers, email, social media, websites, and
associated identity numbers, and related information is personal, confidential, and
uniquely the Claimant’s. As such, arrangements must be made with Claimant to use or
store such information. Any permission and/or authorization any respondent may think
he or she may have had to the use and/or storage of such information, is hereby
revoked. No respondent is authorized or has permission to use, for any reason, a
number similar to such number the Social Security Administration may have assigned to
the estates or trusts created for Claimant.

Furthermore: Respondents are each hereby ordered to forward and advise Claimant of
any and all inquiries made regarding data or information which another party may have
about claimant. Since Claimant hereby requires each respondent to purge his or her
records of any data and/or information regarding claimant each respondent is further
required to stop selling, trading in, and/or sharing such information with any other man,
woman, legal fiction person or entity.

Vill. NOTICE OF UNANSWERED BILL OF PARTICULARS

A. Respondents Nestler, and Rakoczy has failed to answer questions in the Bill of
Particulars sent on 12/8/22 via email and certified mail return receipt 7022 2410
0001 4259 9163 received by the court on 12/14/22. Claimant is giving one more
opportunity in this notice to said respondents to answer the questions for full
disclosure of the case claim(s) by the indicated date below.
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VIII. NOTICE OF POTENTIAL LIABILITY

A. All living men and women as well as all legal fiction persons, government agencies
and private organizations who are in contractual relations with any respondent

above named and which contracts pertain to the living man, James Delisco Beeks,

will be fully liable for any trespass upon his rights, including violations, intrusions, harm,
or negative consequences caused or made possible by further acts taken after this
date, whether those negative consequences are justified by corporate bylaws known as
statutes or not.

B. The above Notices are legal and lawful notice. Respondents may deny said Notice
ONLY by serving the natural man, claimant James Delisco Beeks, above named, by
certified, restricted delivery U.S. Mail, with return receipt, to the address indicated
hereinabove’ for James Delisco Beeks, within Fourteen (14) days after the delivery of
this Notice. Thereafter, the liabilities listed above may not be denied or avoided by
respondent named and implied in this notice.

James Delisco Beeks,

[c/o] 8815 Conroy-Windermere Road. #296

Orlando, Florida [32835]

NOTICE TO PRINCIPAL IS NOTICE TO AGENT AND NOTICE TO AGENT IS
NOTICE TO PRINCIPAL

|, James Beeks, Claimant herein, as the living man do herewith affirm and declare
under my unlimited commercial liability that | am competent and of lawful age to state
the matters set forth hereinabove, and state that the above and foregoing statements
are true, correct, complete, not intended to be misleading, that they constitute
admissible evidence, and are in accordance with my best firsthand knowledge,
understanding and belief.

Dated this PY Hag of be pris vu in the Year Two Thousand Twenty T h yee

Subscribed and sworn, without prejudice, and with all rights retained, Without
Prejudice “ 1-308

 

By: Claimant
| j Sj \ ®
| CJ am-2-\SefiS@: 225K
Living Soul. Seal

 

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Date: 3-7 13
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SWORN DECLARATION and AFFIRMATION of Claimant James Becks
Status and standing

1. i, James Delisco Beeks, am one of the People or their posterity referred to in the
Preamble to the U.S. Constitution. i am domiciled upon the land of Florida, and i have
the right to ‘defi ine the moral, political, and legal character” of my life, as has been
conceded by William Clinton, the Chief Executive Officer of USA, Inc. (Dun & Bradstreet
# 052714196) per Executive Order 13132 Sec. 2(d) (8/10/99). i am of sound mind,
being over the age of 21 upon my birthday on June 7, 1993.

2. iam nota “citizen”, “person”, “resident” or employee of the entity variously known as
UNITED STATES, united States of America, United States of America, UNITED
STATES CORPORATION COMPANY, USA, Inc.(Dun & Bradstreet # 052714196),
and/or its subsidiaries, affiliates, franchisees, or contractors, whether known by other
names and/or legal fictions.

3. imay not be presumed to be a surety for any “debt” which respondents or their fellow
corporate LOCAL, STATE, FEDERAL, or TERRITORIAL employees may have in the
past created or will in the future create. Any presumption to the contrary is incorrect,
nappicans to me or them, void and a nullity.

4. i do not waive any rights, remedies, or defenses whether statutory or procedural. i do
not consent to the abduction and storage of myself to be the surety for any corporation's
debts. |

5. iam not chattel property, a transmitting utility, a British or Vatican subject, employee,
or agent of the STATE OF FLORIDA corporation (Dun & Bradstreet # 004078374), of
the corporation known as UNITED STATES (Dun & Bradstreet # 052714196) or of any
other corporate government. | am not an enemy of the STATE, a cestui que vie trust, a
vessel, lost or misplaced cargo, a legal fiction person, corporation, ship, dead body or
slave.

|
6. iam competent to state the matters set forth in the Notice herein.

7.ihave knowledge of the facts stated in the Notice herein.

8. i am flesh and blood and hereby deny consent to respondents to proceed against me,
whether or not under the auspices of the referenced corporate item numbers 21-MJ-
933, 21-sw-397, 21-sw-296, 1:21-mj-0060, 21-cr-18-19, &1-21-cr-0028 APM because
not one of the above- named respondents as agents, employees, or contractors is

lawfully authorized to act on behalf of any legitimate non- corporate de jure court of
record.

9. inever consented and do not now consent to the monetization of any legal fiction
entities deemed to have been created by the various spellings or stylings of my name
by respondents’ corporate employers or principals. By creating such securitization of
my signatures without my consent, respondents are harming me by converting my
property to the use of others, and by committing common law trespass upon my rights.
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Said trespasses include without limitation the common law crimes and torts of
kidnapping and conversion.

10. inever consented and do not now consent to any inference from any
respondent or from the de facto tribunal that by my mother signing the birth certificate,
which she was pressured to sign under duress for me, that she thereby consented to
placing me under the authority of the corporate STATE. Respondents are fully aware
that Claimant never had any such intention but are benefiting financially by harming me
and committing common law torts of kidnapping, false imprisonment, and trespass upon
my rights.

11, Respondent Mehta is an agent of a for-profit corporation as set forth above,
dependent on income from contracts, grants, fees, and bonds. In the absence of
consent from me, his authority to act as Constitutionally authorized judge is non-existent
and any purported orders issued are void due to absence of subject matter jurisdiction.
Continuing to act outside his corporate job descriptions may subject respondent Mehta
to personal liability for acts committed ultra vires, because as flesh and blood men or
women working as employees or contractors of the for-profit corporations indicated
hereinabove, he has no more authority to sit in judgment of another man than does any
other corporate employee or contractor.

12. Respondents, although they have access to information which has been concealed
from me, have consistently refused to disclose to me, the true corporate status of the
entities known as THE UNITED STATES DISTRICT COURT FOR DISTRICT OF
COLUMBIA CIRCUIT (Dun & Bradstreet # 052714196), UNITED STATES
DEPARTMENT OF JUSTICE (Dun & Bradstreet # 011669674), UNITED STATES
ATTORNEY OFFICE (Dun & Bradstreet # 048158793), THE FEDERAL BUREAU OF
INVESTIGA IONS [FBI] (Dun & Bradstreet # 878865674)

13. Respondents have all acted in violation of my rights as a man to be secure in my
private capacity pursuant to common law and the 4th Amendment to the U.S.
Constitution. Respondents have at no time demonstrated that there was any probable
cause to invade the sanctity of my being. Respondents have persistently failed to
adduce any evidence whatever that | caused visible or other signs of harm from any
intentionally inflicted physical injury to any man or woman or property.

14. All prior participation by me in such corporate proceedings was induced by duress,
intimidation, and coercion induced by respondents’ threats and acts of common law
trespass including kidnapping, invasion of privacy, stalking, harassing, intimidating, and
defaming. Malfeasance occurs when the act is intentional, Nonfeasance is a failure to
act when action is required. and by respondents’ fraudulent misrepresentations of
legitimate Constitutional authority.

15. Authorization for sharing of personal and private information may only be given by

the originator and subject of that information. That authorization is hereby denied and
refused with regard to me.
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16. ideny that i performed any acts constituting consent any of the actions of the
respondents. Whatever consent respondents or any of them may attempt to deem that i
provided, is vitiated by the fact that respondents fraudulently concealed the nature of
their de facto tribunal they refer to as a "court".

17. It is a fundamental maxim that even if consent had been provided, it is not sufficient
to bestow subject matter jurisdiction when none existed.

18. i stand on my right to have the above referenced dispute, if any, adjudicated by a
common law court of record, not a corporate, de facto tribunal called a “district court’,
or “bankruptcy court’. i therefore specifically refuse to consent to being subject to any
further proceedings before the corporate tribunal known as the UNITED STATES
COURT FOR DISTRICT OF COLUMBIA CIRCUIT Dun & Bradstreet # 611934746.

19. All the facts herein are true, correct, complete and admissible as evidence, and if
called uponjas a witness, i will testify to their veracity.

20. Any use by me of a corporate notary public or standby counsel verification is for
identification and confirmation purposes only and confers no subject matter or personal
jurisdiction " anyone, anywhere.

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Notary Public State of Florida
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